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1
                                                                 The Honorable James L. Robart
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                           UNITED STATES DISTRICT COURT FOR THE
8
                             WESTERN DISTRICT OF WASHINGTON
9                                      AT SEATTLE
10
11     UNITED STATES OF AMERICA,                       NO. CR18-162 JLR
12                             Plaintiff,
                                                       GOVERNMENT’S SENTENCING
13                                                     MEMORANDUM
                          v.
14
       HANY VELETANLIC,
15
                               Defendant.
16
17
                                             INTRODUCTION
18
            Hany Veletanlic smuggled firearms and parts to multiple countries, including to
19
     individuals who Veletanlic later described as being part of a “Neo Nazi group and a
20
     terrorist organization.” He possessed two illegal silencers, and lied to agents about
21
     having destroyed one of them. At the time of his arrest, he came to a scheduled meeting
22
     with agents armed with a pistol with an obliterated serial number, an assault rifle, and a
23
     stockpile of ammunition and magazines. After trial, it came to light that Veletanlic had
24
     disabled his court-ordered computer monitoring program shortly before trial had begun.
25
     More disturbingly, Veletanlic’s jail calls and correspondence reveal that he was recently
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     involved in a violent plot targeting one of the individuals involved in his case.
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28
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 1         In light of the serious nature of the underlying offense conduct, as well as
 2 Veletanlic’s highly concerning misconduct after trial, the government believes that a
 3 sentence at the high end of the Guidelines range, 97 months, is appropriate. He also
 4 should be sentenced to three years of supervised release.
 5                                              BACKGROUND
 6         A. The Underlying Offense Conduct
 7         As the Court heard at trial, Veletanlic committed three distinct sets of crimes.
 8         First, Veletanlic repeatedly exported firearms and parts overseas. He admitting
 9 sending 15 to 20 packages to men in Sweden. He claimed to learn after shipping the
10 items that the men were part of a “Neo Nazi group” and a “terrorist organization” who
11 were “likely to commit violent crimes against refugees in Sweden.” His actions were
12 calculated and willful. He repeatedly lied on customs forms, claiming that the items he
13 was shipping were bicycle parts. He used multiple fake return addresses and names to
14 ship the items. He obliterated the serial numbers on the guns, to make them difficult to
15 trace in the event they were seized. He also admitted to smuggling gun parts to
16 individuals in Russia, Brazil, and France.
17         Second, Veletanlic possessed two illegal silencers. He initially surrendered one of
18 the silencers after being confronted by agents. He told agents that he had destroyed
19 another silencer and no longer had it. Approximately a week later, he admitted that he
20 had lied, and surrendered the second silencer to agents.
21         Third, Veletanlic possessed a loaded gun with an obliterated serial number. The
22 circumstances of this offense are particularly troubling. Agents had scheduled a meeting
23 with Veletanlic. He showed up with the gun concealed in his front waist—he claimed it
24 was to use on himself if needed. However, when agents searched the car he had driven to
25 the meeting, they found that Veletanlic had arrived ready for a firefight. Specifically, he
26 had stored in his car an assault rifle, multiple extended magazines, and a cache of
27 ammunition, as depicted in this photograph:
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16         B. Veletanlic’s Other Breaches of the Court’s Trust
17         In addition to his criminal activity, Veletanlic also willfully violated his pretrial
18 bond in a manner that is troubling. Specifically, as the Court found, Veletanlic used an
19 unmonitored computer and cell phone. Although Veletanlic claimed that he did so
20 because the monitoring software impeded his ability to run his business, the timing is
21 highly suspicious. Specifically, after living with the software for over eight months,
22 Veletanlic suddenly, on the eve of trial, started using unmonitored devices without telling
23 Probation. It seems highly likely that Veletanlic made the switch not because of some
24 sudden concern about the software, but rather to be able to send unmonitored messages
25 pertaining to the trial.
26         C. Veletanlic’s Post-Trial Conduct
27              a. The Initial Investigation
28         After trial, two inmates came forward to report that Veletanlic was plotting to kill
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 1 R.K. See Affidavit of Glenn Karabeika ¶ 5. As the Court will recall, during the trial and
 2 in pre-trial motion practice, Veletanlic had tried to shift blame for some of the charged
 3 conduct and for the prosecution itself onto R.K., and had listed R.K. as a witness,
 4 although ultimately R.K. did not testify at trial. See id. ¶¶ 6, 30.
 5         The facts and circumstances of what the government knows about the plot are set
 6 forth in the attached Affidavit of Special Agent Karabeika. In short, when the inmates
 7 came forward, they provided a note that Veletanlic later admitted writing. Id. ¶ 6. In the
 8 note, Veletanlic directed his friend Alex to gather four guns:
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17 See id. Exh. 2. Veletanlic also asked Alex to ensure the guns were “zeroed in at 25 yards,
18 and said that someone would pick up the guns. Id. He provided a code phrase to use in
19 the operation, and instructed Alex to keep quiet. Id.
20         The inmates later passed a second note, also in Veletanlic’s handwriting, that
21 contained addresses associated with R.K. Id. One of the inmates reported that they had
22 told Veletanlic that they were part of a gang, and that a fellow gang member could handle
23 the killing. Id. ¶ 3. The inmate suggested that an undercover officer pose as the gang
24 member willing to kill R.K. Id. Agents directed the inmate to tell Veletanlic that a gang
25 member, i.e., an undercover officer, would deliver the note.
26         Agents meanwhile listened to Veletanlic’s jail calls. On May 2, 2019, four days
27 before the inmates had come forward, Veletanlic called his friend, Jay. Id. ¶ 11. During
28 the call, Veletanlic asked Jay to look up addresses for his “very dear friend,” which later
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 1 became clear was R.K. Id. Veletanlic said that he needed the addresses for a “book” he
 2 was writing” and that he “really, really” needed the addresses. Id.
 3          On May 3, 2019, the following day, Veletanlic asked Jay again for the addresses.
 4 Id. ¶ 12. Jay asked if the addresses were for a “book.” Veletanlic replied, “Yeah, that’s
 5 all I can say.” Id. Veletanlic pressed Jay on the timing, explaining, “I’m eager to get
 6 started, if you know what I mean.” Id. at 3. Over the course of the next few days,
 7 Veletanlic called Jay multiple times, repeatedly pressing him for R.K.’s addresses. Id. ¶¶
 8 13-17.
 9          On May 7, 2019, Veletanlic asked Jay to tell Alex that it was “really important”
10 that he be at the shop. Id. ¶ 16. On the following day, Veletanlic reminded Jay to ensure
11 that Alex would be at the shop. Id. ¶ 17. Veletanlic said that there would be “special
12 mail” arriving at the shop in the next few days, and that Alex was to “grab[] it in person.”
13 Id. Veletanlic also referenced that he would have Alex ship something out in the future.
14 Id.
15          On May 10, 2019, Veletanlic called Alex, and asked whether any letters had
16 arrived. Id. ¶ 18. Veletanlic said that there was going to be a certified letter that would
17 be arriving, and that it related to some “insurance documents.” Id. He said that the letter
18 would “explain everything” and that it was “really, really, really, important.” Id.
19          On May 13, 2019, an undercover officer delivered to Alex Veletanlic’s letter that
20 had been passed to law enforcement by the inmates. Id. ¶ 10. The officer told Alex that
21 he would return on May 17, 2019. Id.
22          On May 15, 2019, Veletanlic called Alex. Id. ¶ 19. Veletanlic told Alex he had
23 given Jerry a “bag with all my, you know, important life – life documents. Most of it’s
24 insurance stuff. In that bag, there is a short -- it’s probably the shortest document in the
25 whole thing. The shortest one.” Veletanlic said he needed this one “the most,”
26 explaining “it’s a life insurance thing.” Id. He said that Jerry “doesn’t have to do
27 anything-- anything. Just simply give it to you.” Id. Veletanlic cautioned: “And, uh,
28 dude, don’t -- don’t tell him anything else. Simply that my life depends on it and I’m
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 1 coming up on deadlines.” Id. Veletanlic emphasized: “If I don’t get my money, I’m not
 2 going to be able to fight this. And if I don’t get those particular documents, I am not
 3 going to be able to fight shit. I am gonna be sentenced to fucking ten years.” Id. He said
 4 that if Jerry resisted, then Alex was “to put a squeeze on him, you do whatever it takes.
 5 But you put a squeeze on him.” Id.
 6         Later that day, Veletanlic and Alex talked again. Id. ¶ 20. Alex said he had asked
 7 Jerry for “papers,” that Jerry had gone pale, and was unwilling to help. Id. Veletanlic
 8 repeatedly implored Alex to go to Jerry and “grab all that stuff from him.” Id.
 9         On the following day, May 16, 2019, Veletanlic and Alex talked again. Id. ¶ 21.
10 Veletanlic expressed concern that Jerry would talk with Veletanlic’s attorneys. Id. Alex
11 said he had spoken with Jerry and assured Veletanlic that Jerry would do nothing. Id.
12 Veletanlic expressed relief, saying: “If he now goes and tries to do some craziness, try to
13 talk to my lawyers, try to complicate things and you know -- I’m in the middle of the
14 most -- now we’re going into sentencing, bro. Do you know how fucking important this
15 is? It’s how many years I’m going to spend in prison.” Id. Veletanlic expressed his
16 unhappiness with Jerry, saying: “Yeah, someday when I’m deported and I try to -- and --
17 and I find a way to come back, you know, someday I’ll have a talk with him about that,
18 how -- how much of a bitch piece of shit he was.” Id. Veletanlic then said his “deadline”
19 was the following day, i.e., when the undercover was slated to return to the shop to pick
20 up the guns. Id. Veletanlic instructed Alex to remove the cushions of the couch at the
21 shop where “documents” had been stashed. Id. Alex said that Jerry had already “cleaned
22 it up” and that the items were no longer in the couch. Id. Veletanlic then instructed Alex
23 to withdraw $1000 in cash from the business account and put the money in two
24 envelopes. Id. at 6-7. Veletanlic said he would “confirm everything’s good tomorrow.”
25 Id.
26         Veletanlic also called Jay. Id. ¶ 23. Veletanlic asked Jay to retrieve a particular
27 person’s phone number. Id. One of the inmates had told agents that after Veletanlic had
28 been unable to get the guns, that Veletanlic had said that the guns could be purchased
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 1 from this individual using the money that Veletanlic had directed Alex to give to the
 2 undercover agent. Id.
 3           On May 17, 2019, the undercover agent returned to the shop. Id. ¶ 24. Alex gave
 4 him two envelopes that each contained $400 in cash. Id. The undercover, referring to the
 5 firearms, asked Alex: “what about the other thing bro?” Id. Alex responded: “The guy . .
 6 . yeah, that didn’t work out.” Id. The undercover then said that the firearms on the list
 7 were nice. Alex responded, “I know, the . . . I’m not Jerry. He fucking wigged out. It
 8 was . . . it . . . it almost turned into a situation.” Id.
 9           On May 21, 2019, at 3:50 p.m., Emma Scanlan, one of Veletanlic’s attorneys,
10 emailed AUSA Matthew Diggs. Id. ¶ 25. She wrote: “I met with Mr. Veletanlic today
11 and I am very concerned about his safety and the safety of [R.K.] Can you give me a
12 call?” Id. An agent returned her call, but they were not able to speak until the following
13 day. Id. Ms. Scanlan said that Veletanlic had told her that two inmates knew R.K. and
14 planned to rob and murder him. Id. She said that the inmates had extorted Veletanlic for
15 money to spare R.K. from harm. Id. According to Ms. Scanlan, Veletanlic said that Alex
16 had made two payments to an individual who showed up at his business. Id. Finally, she
17 said that Veletanlic claimed to have been paying off the inmates’ drug debts. Id.
18           On May 21, 2019, a few hours after Ms. Scanlan emailed the USAO, one of the
19 inmates spoke to Veletanlic while wearing a recording device. Id. ¶ 26. The inmate
20 asked Veletanlic, “All right. So you’re good with the snatch off the traffic stop? Is that
21 what we’re doing?” Id. 1 Veletanlic replied: “I don’t know, man. It’s -- it’s -- you know,
22 I can’t do anything from here.” Id. The inmate then said: “No, I -- we got this. It’s just
23 what do you want done?” Id. Veletanlic replied: “I -- I -- I -- I really -- I -- I really don’t
24 want to -- you know, I really don’t want to know any -- any of this, dude.” Id. The
25 inmate then said that they had been discussing this plan for over two weeks. Id.
26
27
     1
28    According to one of the inmates, he and Veletanlic had discussed approaching R.K. while he was in his car. See
     Affidavit of Karabeika ¶ 26.
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 1 Veletanlic replied, “Yeah, I -- I -- hey, man. I really don’t -- the less I know, the better.”
 2 Id. Veletanlic later said: “I know -- I know this is all -- this is all cool and great. But, uh,
 3 I mean, dude, you’re -- you’re talking about hitting on a guy. It’s -- it’s not -- you’re not
 4 doing me a favor. It’s not going to do me any -any good. So I -- I’d really rather not
 5 have any part in this. And -- and -- and quite frankly, just knowing, I -- I -- I have to
 6 object.” Id. Later in the conversation, Veletanlic denied wanting anyone dead, and that
 7 said that having R.K. being killed would not help his case. Id.
 8              b. Veletanlic’s Account of What Occurred
 9         The government provided to the defense a copy of Special Agent Karabeika’s
10 affidavit, along with the exhibits and discovery about the jailhouse incident, in advance
11 of sentencing. In response, the defense provided a signed declaration from Veletanlic, a
12 copy of which is attached to this memorandum. According to the declaration, Veletanlic
13 told the inmates that he was planning on publicly exposing R.K.’s “illegal business
14 dealings.” See Affidavit of Veletanlic ¶ 6. Veletanlic claims that he referred to his
15 efforts to expose R.K. as his “book.”
16
17
18                                              Veletanlic claims that he reluctantly agreed. Id. at p.
19 3, ¶ 2. He said that he believed that the inmates planned to sell the guns for profit to pay
20 off drug debts that the two allegedly owed. Id. at p. 4, ¶¶ 3, 7. Veletanlic maintains that
21 he tried to signal to his friend not to transfer the guns by writing that the guns were to be
22 “scrubbed” of their serial numbers. Id. at p. 4, ¶ 9. According to Veletanlic, he believed
23 that his friend would refuse to participate in the scheme because the serial numbers were
24 to be obliterated. Id. Veletanlic claims that the inmates subsequently “became frustrated
25 and began to discuss robbing and likely harming” R.K. Id. at p. 4, ¶ 10. Veletanlic
26 claims that “[a]t the earliest, safe opportunity,” he told his attorneys what had happened
27 to “ensure no actual harm would come” to R.K.
28         There are several problems with Veletanlic’s account.
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 1          First, even under Veletanlic’s version of events, he admits that he had control over
 2 multiple guns, despite repeated representations to the Court during detention proceedings
 3 that he had relinquished control over all of his firearms.
 4          Second, it is not believable that Veletanlic tried to signal to his friends not to
 5 transfer by the guns by insisting that the serial numbers be obliterated. Notably, after his
 6 friends refused to transfer the guns, Veletanlic did not express relief or satisfaction.
 7 Rather, he went into a frenzied state, and made multiple, additional pleas to get his
 8 friends to transfer the guns. See Affidavit of Karabeika ¶¶ 20-21.
 9          Third, Veletanlic’s claim that he contacted his attorneys at the “earliest, safe
10 opportunity” is implausible. Veletanlic started collecting R.K.’s addresses on May 2. Id.
11 ¶ 11. He did not notify his attorneys about the plot until May 21. Id. ¶ 25. During this
12 nineteen-day period, Veletanlic, in both emails and phone calls, repeatedly passed
13 messages to his attorneys through his friends about a variety of matters, none of which
14 pertained to the plot. According to jailhouse emails and calls, he appears to have met in
15 person with a defense investigator on May 15, and, by his own admission, did not
16 mention the plot. He also repeatedly expressed concern that his friends would talk to his
17 attorneys about the plot, and instructed them to keep quiet. Id. In addition, he also could
18 have mentioned the plot during any one of his numerous phone calls or emails to his
19 friends, particularly in light of his contention that he was trying to signal to his friends
20 that something was amiss by insisting that the serial numbers be obliterated. Finally, he
21 had countless opportunities to mention the plot to any number of prison officials.
22          Fourth, Veletanlic’s claim that he was collecting R.K’s addresses for a “book” is
23 wholly implausible. Veletanlic very well may have contemplated writing something
24 about R.K., given his obsessive hatred of him. Veletanlic, however, was frantically
25 collecting R.K.’s addresses, repeatedly telling his friend that he needed the addresses
26 quickly, which is inconsistent with a long-term project of writing a “book.” Id. ¶¶ 11-15,
27 17. Veletanlic also was careful not to use R.K.’s true name over the phone, consistently
28 referring to him as a “very dear friend.” If Veletanlic had been collecting the addresses
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 1 for a legitimate purpose, there would have been no need to use a code phrase in lieu of
 2 R.K.’s real name.
 3         Fifth, Veletanlic’s story is difficult to reconcile with how he reacted when
 4 confronted by the inmate wearing the recording device. When the inmate referenced the
 5 plot, Veletanlic said, “you’re talking about hitting on a guy.” Id. ¶ 26. In his declaration,
 6 Veletanlic described the plot as involving the robbery or extortion of R.K. for money, not
 7 as a “hit.” Indeed, neither inmate had any grudge against R.K., such that either would be
 8 motivated to carry out of a hit of R.K. In addition, the absence of what Veletanlic said to
 9 the inmates is telling. Veletanlic didn’t tell the inmates that he had been forced into the
10 plot, that he had resisted it from the beginning, or otherwise reference being extorted by
11 the inmates.
12             c. Conclusion
13         At the end of the day, the precise circumstances of how the plot to target R.K.
14 came into existence, how it unfolded, and whether the inmates put any pressure on
15 Veletanlic, are unknown. But, even when viewing the evidence in the light most
16 favorable to Veletanlic, his conduct was highly concerning, and should be considered by
17 the Court in fashioning its sentence. At bottom, Veletanlic, from inside a prison, directed
18 that multiple guns be transferred to a person he thought was associated with a violent
19 gang who was targeting R.K. He gathered addresses for R.K., and passed them to the
20 person holding himself out as a hitman. He did not alert either his attorneys or the
21 authorities until the very end of the plot, and instructed his friends to keep quiet. Perhaps
22 most concerning, several material aspects of his explanation for what happened are
23 clearly not credible, confirming his bad intent.
24         Veletanlic was convicted of exporting guns to a violent group, and possessing
25 illegal firearms, including a gun with an obliterated serial number. While awaiting
26 sentencing for these offenses, he tried to transfer guns with obliterated serial numbers to
27 another violent group. His post-trial conduct is aggravating and should serve as a basis to
28 enhance his sentence.
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 1                                       SENTENCING GUIDELINES
 2           The government concurs with Probation’s calculation of the Guidelines.
 3           Veletanlic was convicted of four counts, which break into two groups: Count 1
 4 and Counts 2-4. 2
 5           Count 1, the Arms Export Control Act, carries a base offense level of 26, with no
 6 further adjustments.
 7           Counts 2-4, which pertain to Veletanlic’s possession of the silencers and the gun
 8 with the obliterated serial number, score as follows:
 9            • Base Offense Level (due to possession of silencers)                            18
10              (§ 2K2.1(a)(5))
              • 3-7 Firearms (two silencers and handgun with no serial                         +2
11              number) (§ 2K2.1(b)(1)(A))
12            • Obliterated serial number (§ 2K2.1(b)(4)(B))                                   +4
13       Total for Counts 2-4                                                                  24
14
15           Under the Guidelines, each group is assigned one unit because the two groups are
16 within four offense levels of each other. See USSG § 3D1.4(a). As a result, the offense
17 level for the most serious group, in this case 26, is increased by two levels, yielding a
18 total offense level of 28. Id. Veletanlic has no known criminal history, and thus his
19 Guidelines range is 78-97 months.
20           During circulation of the presentence report, Veletanlic made two objections to the
21 Guidelines calculation. First, Veletanlic argued that he should be entitled to a two-level
22 reduction for acceptance of responsibility because he went to trial to avoid potential
23 immigration consequences, rather than to dispute the essential elements of guilt. As the
24 Ninth Circuit has instructed, the critical question is not why the defendant proceeded to
25 trial, but rather whether the defendant has expressed contrition for his actions despite
26 proceeding to trial. See United States v. Ochoa-Gaytan, 265 F.3d 837, 843
27
     2
28    The applicable Guideline for Counts 2-4 is section 2K2.1. Under USSG § 3D1.2(d), all counts that refer to section
     2K2.1 typically group together.
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 1 (9th Cir. 2001). The defendant bears the burden of this showing, and the Court should
 2 consider the circumstances outlined in Application Note 1 to section 3E1.1:
 3         (A) truthfully admitting the conduct comprising the offense(s) of
           conviction, and truthfully admitting or not falsely denying any additional
 4
           relevant conduct for which the defendant is accountable under § 1B1.3
 5         (Relevant Conduct). . . . .
 6         (B) voluntary termination or withdrawal from criminal conduct or
 7         associations;
 8         (C) voluntary payment of restitution prior to adjudication of guilt;
 9
           (D) voluntary surrender to authorities promptly after commission of the
10         offense;
11
           (E) voluntary assistance to authorities in the recovery of the fruits and
12         instrumentalities of the offense;
13         (F) voluntary resignation from the office or position held during the
14         commission of the offense;
15         (G) post-offense rehabilitative efforts (e.g., counseling or drug treatment);
16         and
17         (H) the timeliness of the defendant's conduct in manifesting the acceptance
18         of responsibility.

19 App. Note 1 to USSG § 3E1.1.
20         Veletanlic has not met his burden. First, he was not entirely truthful to agents. As
21 demonstrated at trial, he lied to agents about possessing the silencer that was the subject
22 of Count 3. He also initially mislead agents as to the number and scope of packages that
23 he shipped overseas. Second, he did not voluntarily terminate his criminal conduct.
24 Rather, he brought an illegal firearm to a meeting with agents after having previously
25 been confronted about his exports and the silencers. He also was involved in the plot
26 from the jail that targeted an individual in the case. Third, as the Court found, Veletanlic
27 did not provide credible testimony during the suppression hearing. The Court did not
28 credit Veletanlic’s account of what had happened, which included his false assertion that
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 1 agents explicitly threatened him with arrest if he did not consent to the search. Fourth, he
 2 did not simply put the government to its burden at trial—rather he, among other things,
 3 put on affirmative evidence attempting to show that the serial number on the gun was not
 4 in fact obliterated. Fourth, he attempted to intimidate agents, as reflected by the text
 5 messages that were outlined in the government’s submission regarding post-trial
 6 detention. See Exhibit A to Dkt. 139 at 22 (“It’s getting hard containing the rage I have
 7 after getting to see how your kind “works” . . . Talked to few feds the other day, you
 8 people are about extortion.”); id. at 2 (“Whatever feds decide to ‘take’ from me is going
 9 up in flames, just don't wanna pull the trigger too soon and look like an asshole.”); id. at
10 9 (“I’d rather not breathe air than allow my self to be humiliated anymore. I’m just telling
11 you as clear as I can possibly be, this is the end of the road for me. . . . I will Never stare
12 down a [barrel] of any gun or sit in a court room of someone who plays God.”). In sum,
13 Veletanlic has not met his burden of showing full acceptance of responsibility.
14          During circulation of the presentence report, Veletanlic also argued that all
15 all four counts of conviction should group, because they are “connected by a common
16 criminal objective,” and constitute “part of a common scheme or plan.” See 3D1.2(b)
17 (counts group together when they “involve the same victim and two or more acts or
18 transactions connected by a common criminal objective or constituting part of a common
19 scheme or plan”). In this case, the conduct that forms the basis of Count 1 was distinct
20 from the conduct that forms the basis of Counts 2 – 4. Specifically, Count 1 dealt with
21 the export of a single firearm to Sweden, while Counts 2-4 dealt with Veletanlic’s
22 possession of firearms in the United States that were not slated for export. If Veletanlic
23 had possessed the firearms in Counts 2-4 as part of a plan to export them to Sweden, the
24 counts might all group. But cf. United States v. Hoffman, 10 F.3d 808 (9th Cir. 1993)
25 (unpublished) (rejecting notion that multiple exports group if the shipments are distinct
26 from one another and involve different recipients). But, in fact, there was no relationship
27 between the firearms that formed the basis of Counts 2-4 and the export that was charged
28
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 1 in Count 1. Accordingly, Probation correctly determined that Count 1 does not group
 2 with Counts 2-4.
 3                                         SECTION 3553 ANALYSIS
 4           For the reasons that follow, the Court should sentence Veletanlic to 97 months of
 5 imprisonment and three years of supervised release.
 6 A.        Nature and Circumstances of the Offenses
 7
             The offenses in this case were extremely serious. Veletanlic smuggled firearms
 8
     and parts to a group that he said he later learned were engaged in violence. He
 9 obliterated the serial numbers, a hallmark of guns that will be used for a criminal
10 purpose. In addition, he brought his own gun with an obliterated serial number to a
11 meeting with agents. He also illegally possessed multiple silencers, controlled under the
12
   National Firearms Act, and lied to agents about possessing one of them.
13
   B.      Personal History and Characteristics of the Defendant
14
           Veletanlic consistently showed erratic and concerning behavior throughout the
15
   course of the case, whether it be his conduct as part of the plot against R.K., his
16
   intimidating text messages to agents, or his actions in circumventing the computer
17
   monitoring condition on the eve of trial.
18
           In his presentence interview, Veletanlic told a story of horrific childhood abuse
19
   during the Balkan conflict. It is difficult to know whether to accept the story, given the
20
   Probation Officer was unable to verify any parts of it, and Veletanlic has repeatedly not
21
   told the truth during various stages of this case. In addition, he told his Probation Officer
22
   that he lacked contact information for his mother, who presumably could verify some of
23
   the information he reported. PSR ¶ 55. Veletanlic, however, knew, at a minimum, his
24
   mother’s contact information shortly after the interview—she appears on his contact list
25
   at the FDC, authorized to communicate with him by both phone and email. 3
26
27
     3
28    The presentence report interview occurred on April 3, 2019. See PSR ¶ 53. His mother was first listed as an
     authorized contact at the FDC on May 20, 2019.
      Government’s Sentencing Memorandum - 14                                                UNITED STATES ATTORNEY
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 1 C.       The Need to Reflect the Seriousness of the Offense and to Prove General
 2          Deterrence.

 3          This sentencing raises serious concerns about the need to promote general
 4 deterrence, along with the need to reflect the seriousness of the offense. Individuals must
 5 know that there are serious consequences to willfully disregarding the licensing scheme,
 6 and smuggling guns to a criminal group overseas. A message must be sent that
 7 individuals cannot take the law into their own hands, particularly where there are serious
 8 safety issues at stake. There are countless individuals located overseas who have a desire
 9 for U.S. weapons that they wish to acquire to further their cause. A sufficiently serious
10 sentence should be imposed to account for the need to provide deterrence and otherwise
11 to reflect the seriousness of the offense.
12 D.       The Need to Protect the Public from Further Crimes of the Defendant.
13
            As detailed above, Veletanlic is at a high risk of re-offending. First, he committed
14
     Count 4, possession of a gun with the obliterated serial number, while in contact with
15
     agents, in the hope of avoiding prosecution for his other conduct. Second, he engaged in
16
     the jailhouse plot while pending sentencing for the instant offenses. Third, during a
17 recorded call, he promised to return to the United States if deported, and to confront a
18 person who he was unhappy with regarding their reluctance to participate in the jailhouse
19
     plot. See Affidavit of Special Agent Glenn Karabeika ¶ 22. The Court should be very
20
     concerned about Veletanlic’s stability, and his risk of engaging in further criminal
21
     activity.
22   //
23   //
24   //
25
26
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28
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1                                               CONCLUSION
2          For the foregoing reasons, the Court should sentence Veletanlic to 97 months of
3 imprisonment and three years of supervised release.
4          DATED this 28th day of October, 2019.
5                                                      Respectfully submitted,
6
                                                       BRIAN T. MORAN
7                                                      United States Attorney
8
                                                       /s/ Thomas M. Woods
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1                                   CERTIFICATE OF SERVICE
2          I hereby certify that on October 28, 2019, I electronically filed the foregoing with
3 the Clerk of the Court using the CM/ECF system, which will send notification of such
4 filing to the attorney(s) of record for the Defendant.
5
6                                                     /s/ Salee Porter
                                                      SALEE PORTER
7
                                                      Paralegal
8                                                     United States Attorney’s Office
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